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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,                     Case No. 19-cr-20022

                    Plaintiff,                Hon. Matthew F. Leitman
                                              United States District Judge
v.

EMANUEL TOLON,

                    Defendant.


                       United States’ Response Opposing
               the Defendant’s Motion for Compassionate Release
                   or Recommendation for Home Confinement

     In the Spring of 2018, ATF agents used a confidential informant to make a

series of controlled purchases of cocaine base from Emanuel Tolon. ATF agents

obtained and executed a search warrant at Tolon’s home where they found over 14

grams of crack cocaine, three digital scales, a loaded assault rifle, a loaded AK-

style pistol, and three loaded AK magazines. The government charged Tolon with

one count of possession with intent to distribute cocaine base and Tolon pleaded

guilty.

     Tolon’s sentencing guidelines were 46-57 months, and the court sentenced him

to 28 months of custody. After the sentencing hearing on July 11, 2019, Tolon was

remanded to custody of the U.S. Marshals and he was housed in the Clare County

Jail, where he has been since. According to the Marshals, the Bureau of Prisons


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recently designated Tolon to FCI Allenwood Medium Security, and he will be

transferred to BOP custody soon. FCI Allenwood Medium has had one staff

member test positive and recover from Covid-19, and has had no other confirmed

cases. See BOP Covid-19 Website. Tolon’s anticipated release date is July 6, 2021.

Tolon now moves for compassionate release under 18 U.S.C. § 3582(c)(1)(A). His

motion should be denied.

      Tolon does not qualify for compassionate release. “[T]he mere existence of

Covid-19 in society and the possibility that it may spread to a particular prison

alone cannot independently justify compassionate release.” United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020). Even assuming a defendant facing a heightened

risk from Covid-19 could satisfy the criteria in USSG § 1B1.13(1)(A) & cmt. n.1,

Tolon does not have a condition that places him at higher risk from Covid-19.

Tolon’s criminal history (which includes assaults and drug-related misdemeanors)

and his offense make him a danger to the community, which precludes release

under USSG § 1B1.13(2). Tolon’s crime was dangerous, not only because he was

selling crack for a sustained period of time, but because he was doing so while

armed with two stolen assault weapons, both of which were loaded and out in the

open at his home when ATF executed a search warrant. There were also three

additional high capacity magazines in the home that were loaded for extra

firepower.

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   The § 3553(a) factors—which the Court must also consider under

§ 3582(c)(1)(A)—likewise do not support release. If the Court released Tolon

now, his sentence would not be sufficient to deter further criminal conduct, or

reflect the seriousness of his crime, or protect the safety of the community.

   Since his sentencing hearing, Tolon has been serving his sentence in the Clare

County Jail, which has taken numerous measures to protect the safety of inmates

and jail staff. Because of his recent designation, he will soon be transferred to a

Bureau of Prisons facility—FCI Allenwood Medium Security.

   The Bureau of Prisons has taken significant steps to protect all inmates from

Covid-19. Since January 2020, the Bureau of Prisons has implemented “a phased

approach nationwide,” implementing an increasingly strict protocol to minimize

the virus’s spread in its facilities. Wilson v. Williams, ___ F.3d ___, No. 20-3447,

2020 WL 3056217, at *2 (6th Cir. June 9, 2020). And the Bureau of Prisons has

assessed its entire population to determine which inmates face the most risk from

Covid-19, pose the least danger to public safety, and can safely be granted home

confinement. As of June 22, 2020, this process has already resulted in at least

4,418 inmates being placed on home confinement. See BOP Covid-19 Website.

Especially given the Bureau of Prisons’ efforts—and “the legitimate concerns

about public safety” from releasing inmates who might “return to their criminal




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activities,” Wilson, 2020 WL 3056217, at *11—the Court should deny Tolon’s

motion for compassionate release.

                                     Background

   Tolon began serving his 28 month prison sentence on July 11, 2019. His

projected release date is July 6, 2022, so he has served slightly less than half of his

anticipated sentence. He is 24 years old, and his only underlying medical

conditions are anemia and seasonal allergies. More than seven years ago, he was

struck by a car and seriously injured, sustaining a bruised lung. The most recent

documentation of Tolon’s lung injury is from 2013, and he has produced no

medical records to show that the injury persists. Fortunately, it appears that over

the last seven years Tolon has fully recovered from his lung injury. Nevertheless,

Tolon has moved for compassionate release, citing his medical conditions and the

Covid-19 pandemic.

   Because Tolon was not in BOP custody, he was unable to seek administrative

remedies from BOP and therefore the government, in this case, does not contest

Tolon’s request on the grounds that he failed to exhaust administrative remedies.

As noted above, Tolon was recently designated to the BOP where he soon be

transported to begin serving the remainder of his sentence.




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                                     Argument

I.      The Bureau of Prisons has responded to Covid-19 by protecting inmates
        and increasing home confinement.

        A.    The Bureau of Prisons’ precautions have mitigated the risk from
              Covid-19 within its facilities.

     The Clare County Jail, has taken numerous precautions to ensure the safety of

staff and inmates including Tolon during the Covid-19 pandemic. Tolon will soon

be transferred to the Bureau of Prisons. The BOP also has reacted quickly to

confront Covid-19’s spread within its facilities. Wilson v. Williams, ___ F.3d ___,

No. 20-3447, 2020 WL 3056217, at *2 (6th Cir. June 9, 2020). For over almost a

decade, the Bureau of Prisons has maintained a detailed protocol for responding to

a pandemic. Consistent with that protocol, the Bureau of Prisons began planning

for Covid-19 in January 2020. Wilson, 2020 WL 3056217, at *2.

     On March 13, 2020, the BOP began modifying its operations to implement its

Covid-19 Action Plan and minimize the risk of Covid-19 transmission into and

inside its facilities. Id.; see BOP Covid-19 Modified Operations Website. Since

then, as the worldwide crisis has evolved, the Bureau of Prisons has repeatedly

revised its plan. Wilson, 2020 WL 3056217, at *2. To stop the spread of the

disease, the Bureau of Prisons has restricted inmate movement within and between

facilities. Id. When new inmates arrive, asymptomatic inmates are placed in

quarantine for a minimum of 14 days. Id. Symptomatic inmates are provided with


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medical evaluation and treatment and are isolated from other inmates until testing

negative for Covid-19 or being cleared by medical staff under the CDC’s criteria.

Id.

      Within its facilities, the Bureau of Prisons has “modified operations to

maximize physical distancing, including staggering meal and recreation times,

instating grab-and-go meals, and establishing quarantine and isolation procedures.”

Id. Staff and inmates are issued facemasks to wear in public areas. See BOP FAQs:

Correcting Myths and Misinformation. Staff and contractors are screened for

symptoms, and contractors are only permitted to access a facility at all if

performing essential service. Wilson, 2020 WL 3056217, at *2. Social and legal

visits have been suspended to limit the number of people entering the facility and

interacting with inmates. Id. But to ensure that relationships and communication

are maintained throughout this disruption, the Bureau of Prisons has increased

inmates’ telephone allowance to 500 minutes per month. Legal visits are permitted

on a case-by-case basis after the attorney has been screened for infection.

      Like all other institutions, penal and otherwise, the Bureau of Prisons has not

been able to eliminate the risks from Covid-19 completely, despite its best efforts.

But the Bureau of Prisons’ measures will help federal inmates remain protected

from Covid-19 and ensure that they receive any required medical care during these

difficult times.

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      B.      The Bureau of Prisons is increasing the number of inmates who
              are granted home confinement.

   The Bureau of Prisons has also responded to Covid-19 by increasing the

placement of federal prisoners in home confinement. Recent legislation now

temporarily permits the Bureau of Prisons to “lengthen the maximum amount of

time for which [it] is authorized to place a prisoner in home confinement” during

the Covid-19 pandemic. Coronavirus Aid, Relief, and Economic Security Act

(CARES Act) § 12003(b)(2), Pub. L. No. 116-136, 134 Stat. 281, 516 (Mar. 27,

2020). The Attorney General has also issued two directives, ordering the Bureau of

Prisons to use the “various statutory authorities to grant home confinement for

inmates seeking transfer in connection with the ongoing Covid-19 pandemic.” (03-

26-2020 Directive to BOP, at 1; accord 04-03-2020 Directive to BOP, at 1). The

directives require the Bureau of Prisons to identify the inmates most at risk from

Covid-19 and “to consider the totality of circumstances for each individual inmate”

in deciding whether home confinement is appropriate. (03-26-2020 Directive to

BOP, at 1).

   The Bureau of Prisons’ efforts on this point are not hypothetical. Over 4,400

federal inmates have been granted home confinement since the Covid-19 pandemic

began, and that number continues to grow. BOP Coronavirus FAQs. As the Sixth

Circuit recently stressed, these efforts show that “[t]he system is working as it

should”: “A policy problem appeared, and policy solutions emerged.” United
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States v. Alam, ___ F.3d ___, No. 20-1298, 2020 WL 2845694, at *5 (6th Cir. June

2, 2020).

   This policy solution is also tailored to the realities of the Covid-19 pandemic.

As the Attorney General’s directives have explained, the Bureau of Prisons is

basing its home-confinement decisions on several factors:

      1.) Each inmate’s age and vulnerability to Covid-19;

      2.) Whether home confinement would increase or decrease the
      inmate’s risk of contracting Covid-19; and

      3.) Whether the inmate’s release into home confinement would risk
      public safety.

(03-26-2020 Directive to BOP; 04-03-2020 Directive to BOP). These criteria

account for justifiable concerns about whether inmates “might have no safe place

to go upon release and [might] return to their criminal activities,” as well as

“legitimate concerns about public safety.” Wilson, 2020 WL 3056217, at *11.

   The Bureau of Prisons, after all, cannot open its facilities’ gates

indiscriminately and unleash tens of thousands of convicted criminals, en masse.

See id. It must focus on the inmates who have the highest risk factors for Covid-19

and are least likely to engage in new criminal activity. This is true not just to

protect the public generally, but to avoid the risk that a released defendant will

bring Covid-19 back into the jail or prison system if he violates his terms of release




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or is caught committing a new crime. See 18 U.S.C. § 3624(g)(5); 34 U.S.C.

§ 60541(g)(2).

   The Bureau of Prisons must also balance another important consideration: how

likely is an inmate to abide by the CDC’s social-distancing protocols or other

Covid-19-based restrictions on release? Many inmates—particularly those who

have been convicted of serious offenses or have a lengthy criminal record—been

already proven unwilling to abide by society’s most basic norms. It is thus

important to evaluate “how . . . released inmates would look after themselves,”

Wilson, 2020 WL 3056217, at *11, including whether a particular inmate would

adhere to release conditions and social-distancing protocols during the pandemic.

If a prisoner would be unlikely to take release conditions or Covid-19 precautions

seriously, for instance, he would also be far more likely than the general public to

contract and spread Covid-19 if released.

   Finally, the Bureau of Prisons’ home-confinement initiative allows it to marshal

and prioritize its limited resources for the inmates and circumstances that are most

urgent. For any inmate who is a candidate for home confinement, the Bureau of

Prisons must first ensure that his proposed home-confinement location is suitable

for release, does not place him at an even greater risk of contracting Covid-19, and

does not place members of the public at risk from him. It must assess components

of the release plan, including whether the inmate will have access to health care

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and other resources. It must consider myriad other factors, including the limited

availability of transportation right now and the probation department’s reduced

ability to supervise inmates who have been released. All of those decisions require

channeling resources to the inmates who are the best candidates for release.

      Those types of system-wide resource-allocation decisions are difficult even in

normal circumstances. That is why Congress tasked the Bureau of Prisons to make

them and has not subjected the decisions to judicial review. 18 U.S.C. § 3621(b)

(“Notwithstanding any other provision of law, a designation of a place of

imprisonment under this subsection is not reviewable by any court.”); United

States v. Patino, No. 18- 20451, 2020 WL 1676766, at *6 (E.D. Mich. Apr. 6,

2020) (“[A]s a general rule, the Court lacks authority to direct the operations of the

Bureau of Prisons.”). It is especially true now, given the Bureau of Prisons’

substantial and ongoing efforts to address the Covid-19 pandemic.

II.      The Court should deny Tolon’s motion for compassionate release.

      Tolon’s motion for a reduced sentence should be denied. A district court has

“no inherent authority . . . to modify an otherwise valid sentence.” United States v.

Washington, 584 F.3d 693, 700 (6th Cir. 2009). Rather, a district court’s authority

to modify a defendant’s sentence is “narrowly circumscribed.” United States v.

Houston, 529 F.3d 743, 753 n.2 (6th Cir. 2008). Absent a specific statutory

exception, a district court “may not modify a term of imprisonment once it has

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been imposed.” 18 U.S.C. § 3582(c). Those statutory exceptions are narrow.

United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001). Compassionate release

under 18 U.S.C. § 3582(c)(1)(A) is equally narrow.

   First, compassionate release requires exhaustion. Because Tolon had no

administrative remedies to pursue with BOP, the government does not contest

Tolon’s motion based on his failure to seek such remedies.

   Second, even in cases where a defendant has exhausted remedies, he must show

“extraordinary and compelling reasons” for compassionate release, and release

must be “consistent with” the Sentencing Commission’s policy statements. 18

U.S.C. § 3582(c)(1)(A). As with the identical language in § 3582(c)(2),

compliance with the policy statements incorporated by § 3582(c)(1)(A) is

mandatory. See Dillon v. United States, 560 U.S. 817 (2010); United States v.

Jackson, 751 F.3d 707, 711 (6th Cir. 2014). To qualify, a defendant must have a

medical condition, age-related issue, family circumstance, or other reason that

satisfies the criteria in USSG § 1B1.13(1)(A) & cmt. n.1, and he must “not [be] a

danger to the safety of any other person or to the community,” USSG § 1B1.13(2).

   Third, even if a defendant is eligible for compassionate release, a district court

may not grant the motion unless the factors in 18 U.S.C. § 3553(a) support release.

18 U.S.C. § 3582(c)(1)(A); USSG § 1B1.13. As at sentencing, those factors require

the district court to consider the defendant’s history and characteristics, the

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seriousness of the offense, the need to promote respect for the law and provide just

punishment for the offense, general and specific deterrence, and the protection of

the public. 18 U.S.C. § 3553(a).

      A.     Tolon is not eligible for compassionate release under the
             mandatory criteria in USSG § 1B1.13.

   Compassionate release must be “consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). Congress

tasked the Sentencing Commission with “describ[ing] what should be considered

extraordinary and compelling reasons for [a] sentence reduction” under

§ 3582(c)(1)(A), as well developing “the criteria to be applied and a list of specific

examples” for when release is permitted. 28 U.S.C. § 994(t).

   Because the Sentencing Commission has fulfilled Congress’s directive in USSG

§ 1B1.13, that policy statement is mandatory. Section 3582(c)(1)(A)’s reliance on

the Sentencing Commission’s policy statements mirrors the language governing

sentence reductions under 18 U.S.C. § 3582(c)(2) for retroactive guideline

amendments. Compare § 3582(c)(1)(A) with § 3582(c)(2). When Congress uses

the same language in the same statute, it must be interpreted in the same way.

Marshall, 954 F.3d at 830. In both contexts, then, the Sentencing Commission’s

restraints “on a district court’s sentence-reduction authority [are] absolute.” United

States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014); accord Dillon v. United

States, 560 U.S. 817, 830 (2010).
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   The First Step Act did not change that. It amended only who could move for

compassionate release under § 3582(c)(1)(A). It did not amend the substantive

requirements for release. United States v. Saldana, No. 19-7057, 2020 WL

1486892, at *2–*3 (10th Cir. Mar. 26, 2020); United States v. Mollica, No. 2:14-

CR-329, 2020 WL 1914956, at *4 (N.D. Ala. Apr. 20, 2020). Section 1B1.13

remains binding.

   Section 1B1.13 cabins compassionate release to a narrow group of non-

dangerous defendants who are most in need. That policy statement limits

“extraordinary and compelling reasons” to four categories: (1) the inmate’s

medical condition; (2) the inmate’s age; (3) the inmate’s family circumstances; and

(4) other reasons “[a]s determined by the Director of the Bureau of Prisons,” which

the Bureau of Prisons has set forth in Program Statement 5050.50. USSG § 1B1.13

cmt. n.1.

   The Covid-19 pandemic does not, by itself, qualify as the type of inmate-

specific condition permitting compassionate release. The Bureau of Prisons has

worked diligently to implement precautionary measures reducing the risk from

Covid-19 to inmates. See Wilson v. Williams, ___ F.3d ___, No. 20-3447, 2020

WL 3056217, at *2, *8 (6th Cir. June 9, 2020). Thus, “the mere existence of

Covid-19 in society and the possibility that it may spread to a particular prison

alone cannot independently justify compassionate release, especially considering

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BOP’s statutory role, and its extensive and professional efforts to curtail the virus’s

spread.” Raia, 954 F.3d at 597; cf. Wilson, 2020 WL 3056217, at *11.

   Tolon’s age and medical condition likewise do not satisfy the requirements for

release in USSG § 1B1.13 cmt. n.1, even when considered in combination with the

Covid-19 pandemic. Tolon is a healthy 24 year old. His seasonal allergies and

anemia are not “terminal illnesses.” See USSG § 1B1.13 cmt. n.1(A)(i). Nor do

they substantially diminish Tolon’s ability “to provide self-care within the

environment of a correctional facility.” See USSG § 1B1.13 cmt. n.1(A)(ii).

   Tolon’s age and medical records also confirm that he does not have a CDC-

recognized risk factor for Covid-19. So whether considered alone or in

combination with the Covid-19 pandemic, Tolon’s age and medical condition do

not satisfy the initial eligibility criteria for release under USSG § 1B1.13 cmt. n.1.

See United States v. Murphy, No. 15-20411, 2020 WL 2507619, at *5–*6 (E.D.

Mich. May 15, 2020).

   Tolon also remains ineligible for compassionate release because he is a danger

to the community. Section 1B1.13(2) only permits release if a “defendant is not a

danger to the safety of any other person or to the community, as provided in 18

U.S.C. § 3142(g).” It thus prohibits the release of violent offenders, including most

drug dealers. See United States v. Stone, 608 F.3d 939, 947–48 & n.6 (6th Cir.

2010); United States v. Knight, No. 15-20283, 2020 WL 3055987, at *3 (E.D.

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Mich. June 9, 2020). It also bars the release of many other defendants. An

evaluation of dangerousness under § 3142(g) requires a comprehensive view of

community safety—“a broader construction than the mere danger of physical

violence.” United States v. Cook, 880 F.2d 1158, 1161 (10th Cir. 1989) (per

curiam). So even many “non-violent” offenders—such as those who have been

involved in serial or significant fraud schemes—may not be released

under § 3582(c)(1)(A). USSG § 1B1.13(2).

   Tolon’s criminal history (which includes several convictions for assaultive

offenses), and the circumstances of his offense (making multiple crack cocaine

sales and possessing two loaded stolen assault weapons with three additional high

capacity magazines that were all loaded) support the fact that he would be a danger

if released.

   Adhering to § 1B1.13(2) is especially important given the current strain on the

community caused by increased crime during the Covid-19 pandemic. In recent

years, Flint has seen more than its share of violent crime. Tolon was shot in the

Spring of 2018 and one of his close acquaintances was murdered. But during the

Covid-19 pandemic, Flint has seen a spike in shootings and murders. Tolon’s own

brother was shot on May 31, 2020, and shootings and firearm-related murders are

up significantly over last year at this time. There are real risks to public safety right



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now, and those risks will only increase if our community is faced with a sudden

influx of convicted defendants.

      B.     The factors in 18 U.S.C. § 3553(a) strongly weigh against
             compassionate release.

   Even when an inmate has shown “extraordinary and compelling reasons” and

demonstrated that he is not dangerous, he is still not entitled to compassionate

release. Before ordering relief, the Court must consider the factors set forth in 18

U.S.C. § 3553(a) and determine that release is appropriate. See United States v.

Knight, No. 15-20283, 2020 WL 3055987, at *3 (E.D. Mich. June 9, 2020) (“The §

3553(a) factors . . . weigh against his request for compassionate release.”); United

States v. Austin, No. 15-20609, 2020 WL 2507622, at *3–*5 (E.D. Mich. May 15,

2020) (holding that the “[d]efendant’s circumstances do not warrant compassionate

release . . . under 18 U.S.C. § 3553(a)”); United States v. Murphy, No. 15-20411,

2020 WL 2507619, at *6 (E.D. Mich. May 15, 2020) (denying compassionate

release because “the 18 U.S.C. § 3553(a) sentencing factors do not favor release”);

see also United States v. Kincaid, 802 F. App’x 187, 188–89 (6th Cir. 2020)

(upholding a district court’s denial of compassionate release based on the

§ 3553(a) factors). So even if the Court were to find Tolon eligible for

compassionate release, the § 3553(a) factors still disqualify him.

   Tolon’s 28 month sentence was a significant downward variance from the

guideline range of 46-57 months. Compassionate release at this point would result
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in Tolon serving less than half of his anticipated sentence. It would result in an

unwarranted disparity; it would be insufficient to deter Tolon from committing

future crimes; it would not reflect the seriousness of Tolon’s crime; and it is not

sufficient to protect the community.

III.   The Court should decline Tolon’s request for a recommendation that he
       be granted home confinement.

   The Court should also deny Tolon’s request for a judicial recommendation to

the Bureau of Prisons that he finish his sentence under home confinement. Even

assuming the Court has the authority to grant such a recommendation, Tolon is not

a strong candidate for it. Tolon is young and has a lot of potential. His best chance

at succeeding as a productive member of society would be for him to serve his

sentence, go on supervise release and obtain employment or attend a culinary

school as he discussed in his presentence interview. If the court released Tolon to

home confinement in the middle of a pandemic, it would be difficult to supervise

Tolon or provide him access to educational and vocational resources. Release to

home confinement would unwisely set him up for failure.


IV.    If the Court were to grant Tolon’s motion, it should order a 14-day
       quarantine before release.

   If the Court were inclined to grant Tolon’s motion despite the government’s

arguments above, the Court should order that he be subjected to a 14-day

quarantine before release.

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                                   Conclusion

   Tolon’s motion should be denied.



Dated: June 23, 2020                  MATTHEW SCHNEIDER
                                      United States Attorney

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                         CERTIFICATE OF SERVICE

      I certify that on June 23, 2020, I filed the foregoing document using

the court’s CM/ECF system which will provide notice to Christopher

McGrath, attorney for Emanuel Tolon.


                                             /s Jules M. DePorre
                                             Assistant U.S. Attorney




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